        Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 1 of 25




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 YVONNE JONES, NAOMI MOORE, )
 PEACE NJOKU, SHAKEYA SCOTT,)
 SEAN SMITH, and INDY       )
 WILLIAMS, individually and on
                            )
 behalf of all others similarly situated,
                            ) Case No.
                            )
       Plaintiffs,          )
                            ) JURY TRIAL DEMANDED
              v.            )
                            )
 UNIVAR INC. and UNIVAR USA )
 INC.,                      )
                            )
       Defendants.          )

                                   COMPLAINT

      Plaintiffs YVONNE JONES (“Jones”), NAOMI MOORE (“Moore”),

PEACE NJOKU (“Njoku”), SHAKEYA SCOTT (“Scott”), SEAN SMITH

(“Smith”), and INDY WILLIAMS (“Williams”) (collectively “Plaintiffs”), on

behalf of themselves and all others similarly situated, by and through their attorneys,

bring this action for damages and other legal and equitable relief from Defendants,

UNIVAR INC. (“Univar”) and UNIVAR USA INC. (“UUI”) (collectively,

“Defendants”), for violations of the Fair Labor Standards Act (“FLSA”), as

amended, 29 U.S.C. 201 et seq., and any other cause(s) of action that can be inferred

from the facts set forth herein.
           Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 2 of 25




                                   INTRODUCTION

      1.        This is a collective action brought by Plaintiffs challenging acts

committed by Defendants against Plaintiffs and those similarly situated, which

amount to violations of federal wage and hour laws.

      2.        Defendants employed Plaintiffs and all those similarly situated as

customer service representatives (collectively “CSRs”). CSRs are/were employed at

Defendants’ various customer service facilities located within the states and

territories of Alaska, Arizona, Arkansas, California, Colorado, Florida, Georgia,

Hawaii, Idaho, Illinois, Indiana, Iowa, Kentucky, Louisiana, Massachusetts,

Michigan, Missouri, Montana, Nebraska, New Mexico, New York, North Carolina,

Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico, Rhode Island, South Carolina,

Tennessee, Texas, Virginia, Washington, Wisconsin, and Wyoming (collectively,

the “States and Territories”).

      3.        Plaintiffs bring this action on behalf of themselves, and those similarly

situated, as a result of Defendants’ violation of federal wage and hour laws, as set

forth herein.

      4.        Plaintiffs bring this action due to Defendants’ regular failure to pay

CSRs the statutorily required overtime rate of time-and-a-half for hours worked

beyond forty (40) in a work week which violates the FLSA and any other cause(s)

                                             2
           Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 3 of 25




of action that can be inferred from the facts set forth herein. Defendants violated the

FLSA by engaging in a systematic nationwide scheme of providing CSRs with

“comp time” rather than overtime pay. Pursuant to this scheme, Defendants did not

pay CSRs with an overtime premium for all hours worked in excess of forty (40)

hours per work week. Instead, Defendants issued CSRs time off the following work

week in the same amount of hours they had worked in excess of forty (40).

Accordingly, CSRs were not compensated at a rate of one-and-one-half (1 ½) for

every hour they worked in excess of forty (40) hours per work week and allege that

they are entitled to recover: (i) unpaid and incorrectly paid wages for all hours

worked in a work week, as required by law, (ii) unpaid overtime, (iii) liquidated

damages, (iv) interest, and (v) attorneys’ fees and costs, pursuant to the FLSA and

such other and further relief as this Court finds necessary and proper.

      5.       Plaintiffs bring this action, pursuant to 29 U.S.C. § 216(b), on behalf of

a collective group of persons who are/were employed by Defendants as CSRs during

the past three (3) years through the final date of the disposition of this action who

were not paid an overtime premium for all hours worked in excess of forty (40) hours

per work week.




                                            3
            Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 4 of 25




                            JURISDICTION AND VENUE

       6.       This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1331, which confers original jurisdiction upon this Court for actions arising under

the laws of the United States, and pursuant to 28 U.S.C. §§ 1343(3) and 1343(4),

which confer original jurisdiction upon this Court in a civil action to recover

damages or to secure equitable relief (i) under any Act of Congress providing for the

protection of civil rights; (ii) under the Declaratory Judgment Statute, 28 U.S.C. §

2201; and (iii) under 29 U.S.C. §§ 201 et seq.

       7.       Venue is proper in this Court pursuant to 29 U.S.C. §§ 201-219, in as

much as this judicial district lies in a State in which the unlawful employment

practices occurred. Venue is also proper in this Court pursuant to 28 U.S.C. §

1391(b)(1) and (c), in that Defendants maintain offices, conduct business and reside

in this district.

                                     THE PARTIES

       8.       Plaintiff Jones is a citizen of Georgia and resides in Snellville, Georgia.

       9.       At all relevant times, Plaintiff Jones was an employee of Defendants

within the meaning of the FLSA.

       10.      Plaintiff Moore is a citizen of Georgia and resides in Atlanta, Georgia.




                                              4
        Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 5 of 25




      11.   At all relevant times, Plaintiff Moore was an employee of Defendants

within the meaning of the FLSA.

      12.   Plaintiff Njoku is a citizen of Georgia and resides in Duluth, Georgia.

      13.   At all relevant times, Plaintiff Njoku was an employee of Defendants

within the meaning of the FLSA.

      14.   Plaintiff Scott is a citizen of Georgia and resides in Conyers, Georgia.

      15.   At all relevant times, Plaintiff Scott was an employee of Defendants

within the meaning of the FLSA.

      16.   Plaintiff Smith is a citizen of Georgia and resides in Buford, Georgia.

      17.   At all relevant times, Plaintiff Smith was an employee of Defendants

within the meaning of the FLSA.

      18.   Plaintiff Williams is a citizen of Georgia and resides in Decatur,

Georgia.

      19.   At all relevant times, Plaintiff Williams was an employee of Defendants

within the meaning of the FLSA.

      20.   Defendant Univar is a publicly traded corporation, which is

incorporated in Delaware and headquartered in Illinois.

      21.   Defendant Univar conducts business in the State of Georgia.




                                         5
        Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 6 of 25




      22.    Defendant Univar transacted and continues to transact business within

the States and Territories, including Georgia, by formerly and currently employing

CSRs within the States and Territories and by owning and operating customer

service facilities within the States and Territories.

      23.    Defendant Univar has at all relevant times been an employer covered

by the FLSA.

      24.    Upon information and belief, the amount of qualifying annual volume

of business for Defendant Univar exceeds $500,000.00 and thus subjects Defendant

Univar to the FLSA’s overtime requirements.

      25.    Upon information and belief, Defendant Univar is engaged in interstate

commerce. This independently subjects Defendant Univar to the overtime

requirements of the FLSA.

      26.    Defendant UUI is a corporation, which is incorporated in Delaware and

registered to do business in the State of Georgia.

      27.    Defendant UUI is a wholly owned subsidiary of Defendant Univar.

      28.    Defendant UUI transacted and continues to transact business within the

States and Territories, including Georgia, by formerly and currently employing

CSRs within the States and Territories and by owning and operating facilities within

the States and Territories.

                                            6
           Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 7 of 25




      29.      Defendant UUI has at all relevant times been an employer covered by

the FLSA.

      30.      Upon information and belief, the amount of qualifying annual volume

of business for Defendant UUI exceeds $500,000.00 and thus subjects Defendant

UUI to the FLSA’s overtime requirements.

      31.      Upon information and belief, Defendant UUI is engaged in interstate

commerce.      This independently subjects Defendant UUI to the overtime

requirements of the FLSA.

      32.      Defendants jointly employed CSRs employing or acting in the interest

of the employer towards CSRs directly or indirectly, jointly or severally, including

without limitation, by controlling and directing the terms of employment and

compensation, by formulating and implementing policies, hiring and/or firing CSRs,

by creating work schedules, and by suffering all those similarly situated employees

to work.

                             STATEMENT OF FACTS

I.    Facts Common to All CSRs

      33.      Throughout the relevant time period, CSRs were employed by

Defendants in their customer service department as customer service representatives.




                                          7
        Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 8 of 25




      34.    Throughout the relevant time period, Defendants owned and operated

customer service facilities within the states and territories of Alaska, Arizona,

Arkansas, California, Colorado, Florida, Georgia, Hawaii, Idaho, Illinois, Indiana,

Iowa, Kentucky, Louisiana, Massachusetts, Michigan, Missouri, Montana,

Nebraska, New Mexico, New York, North Carolina, Ohio, Oklahoma, Oregon,

Pennsylvania, Puerto Rico, Rhode Island, South Carolina, Tennessee, Texas,

Virginia, Washington, Wisconsin, and Wyoming.

      35.    Throughout the relevant time period, Defendants employed CSRs

within the states and territories of Alaska, Arizona, Arkansas, California, Colorado,

Florida, Georgia, Hawaii, Idaho, Illinois, Indiana, Iowa, Kentucky, Louisiana,

Massachusetts, Michigan, Missouri, Montana, Nebraska, New Mexico, New York,

North Carolina, Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico, Rhode Island,

South Carolina, Tennessee, Texas, Virginia, Washington, Wisconsin, and Wyoming.

      36.    CSRs were required to perform intakes for Defendants’ customers who

were inquiring into an issue they had in the course of their business with Defendants

and to provide a solution to that issue. CSRs were also required to perform account

management, order entry, order fulfillment, and shipping arrangement.

      37.    CSRs were paid on an hourly basis.

      38.    CSRs were not paid on a salary or fee basis.

                                         8
        Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 9 of 25




      39.    CSRs were compensated bi-weekly via check or direct deposit.

      40.    Throughout the relevant time period, CSRs were scheduled to work at

least four (4) days per work week.

      41.    Throughout the relevant time period, CSRs were scheduled to work at

least eight (8) hours per workday.

      42.    Throughout the relevant time period, CSRs recorded their time on a

computer system.

      43.    Throughout the relevant time period CSRs were allotted one (1) unpaid

hour per workday for a meal break.

      44.    Throughout the relevant time period, CSRs frequently worked through

their allotted meal breaks.

      45.    Throughout the relevant time period, CSRs worked in excess of their

scheduled work hours.

II.   Facts Pertaining to Defendants’ Overtime Violations

      46.    Throughout the relevant time period, Defendants were aware that CSRs

worked in excess of forty (40) hours per work week.

      47.    Throughout the relevant time period, Defendants implemented a

nationwide “comp time” corporate policy.




                                        9
        Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 10 of 25




      48.    Upon information and belief, Defendants’ “comp time” policy was in

effect for their entire customer service department and affected all CSRs employed

by Defendants. Accordingly, upon information and belief, all of Defendants’

customer service branches located in the States and Territories were required to

adhere to Defendants’ “comp time” policy.

      49.    Defendants implemented a “comp time” policy whereby for each hour

a CSR worked in excess of forty (40) hours per work week he/she was required to

take the same amount of hours off the following work week. For example if a CSR

worked fifty (50) hours the first week of his pay period, he was prohibited from

working in excess of thirty (30) hours the second week of his pay period.

Furthermore, he was paid his straight-rate for all eighty (80) hours worked for that

bi-weekly pay period and was not compensated with the statutorily required time-

and-a-half rate for the ten (10) hours he worked in excess of forty (40) the first week

of that bi-weekly pay period.

      50.    Following the implementation of the “comp time” policy, CSRs were

only permitted to enter a maximum of forty (40) hours per work week on

Defendants’ computerized time recording system.

      51.    CSRs were required to report all hours worked in excess of forty (40)

hours per work week to their respective manager, rather than in Defendants’

                                          10
        Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 11 of 25




computerized time recording system. After reporting their hours worked in excess

of forty (40) to the respective manager, CSRs then directed to choose their hours off

the following week.

       52.      Defendants were aware of all overtime hours CSRs worked.

       53.      CSRs were required to use “comp time” and were not permitted to opt

for overtime pay in the week in which the overtime hours were worked.

       54.      Upon information and belief, CSRs were required to use their “comp

time” within one (1) to (2) weeks after it accrued.

       55.      CSRs were not compensated with an overtime premium for all hours

worked in excess for forty (40) hours per work week.

       56.      CSRs are/were not exempt from the FLSA, as they were paid on an

hourly basis.

III.   Facts Pertaining to Plaintiff Jones

       57.      In or around 2007, Plaintiff Jones began her employment with

Defendants as a CSR.

       58.      From in or around 2008 to 2015, Plaintiff Jones took a position with

Defendants as a receptionist.

       59.      In or around 2015, Plaintiff Jones resumed her position as a CSR for

Defendants.

                                          11
       Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 12 of 25




      60.   Throughout the relevant time period, Plaintiff Jones was employed at

Defendants’ customer service facility located in Atlanta, Georgia.

      61.   As a CSR, Plaintiff Jones was paid on an hourly basis.

      62.   As a CSR, Plaintiff Jones was not paid on a salary or fee basis.

      63.   Throughout the relevant time period, Plaintiff Jones worked, on

average, approximately sixty (60) to sixty-five (65) hours per work week.

      64.   Throughout the relevant time period, Plaintiff Jones entered the hours

she worked per work week in Defendants’ computerized time recording system.

      65.   Throughout the relevant time period, Plaintiff Jones was subjected to

Defendants’ “comp time” policy.

      66.   Accordingly, throughout the relevant time period, Plaintiff Jones was

not compensated with an overtime premium for all hours worked in excess of forty

(40) hours per work week.

      67.   Throughout the relevant time period, Plaintiff Jones was not exempt

from the FLSA.

      68.   Plaintiff Jones is currently employed as a CSR for Defendants.

IV.   Facts Pertaining to Plaintiff Moore

      69.   In or around January 2016, Plaintiff Moore began her employment with

Defendants as a CSR.

                                        12
       Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 13 of 25




      70.   Throughout the relevant time period, Plaintiff Moore was employed at

Defendants’ customer service facility located in Atlanta, Georgia.

      71.   As a CSR, Plaintiff Moore was paid on an hourly basis.

      72.   As a CSR, Plaintiff Moore was not paid on a salary or fee basis.

      73.   Throughout the relevant time period, Plaintiff Moore worked, on

average, approximately fifty (50) hours per work week.

      74.   Throughout the relevant time period, Plaintiff Moore entered the hours

she worked per work week in Defendants’ computerized time recording system.

      75.   Throughout the relevant time period, Plaintiff Moore was subjected to

Defendants’ “comp time” policy.

      76.   Accordingly, throughout the relevant time period, Plaintiff Moore was

not compensated with an overtime premium for all hours worked in excess of forty

(40) hours per work week.

      77.   Throughout the relevant time period, Plaintiff Moore was not exempt

from the FLSA.

      78.   In or around July 2017, Plaintiff Moore ended her employment with

Defendants as a CSR to take a position in Defendants’ planning department.




                                        13
       Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 14 of 25




V.    Facts Pertaining to Plaintiff Njoku

      79.   In or around June 2014, Plaintiff Njoku began her employment with

Defendants as a CSR.

      80.   Throughout the relevant time period, Plaintiff Njoku was employed at

Defendants’ customer service facility located in Atlanta, Georgia.

      81.   As a CSR, Plaintiff Njoku was paid on an hourly basis.

      82.   As a CSR, Plaintiff Njoku was not paid on a salary or fee basis.

      83.   Throughout the relevant time period, Plaintiff Njoku worked, on

average, approximately fifty-five (55) to sixty (60) hours per work week.

      84.   Throughout the relevant time period, Plaintiff Njoku entered the hours

she worked per work week in Defendants’ computerized time recording system.

      85.   Throughout the relevant time period, Plaintiff Njoku was subjected to

Defendants’ “comp time” policy.

      86.   Accordingly, throughout the relevant time period, Plaintiff Njoku was

not compensated with an overtime premium for all hours worked in excess of forty

(40) hours per work week.

      87.   Throughout the relevant time period, Plaintiff Njoku was not exempt

from the FLSA.




                                        14
       Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 15 of 25




      88.   In or around June 2016, Plaintiff Njoku ended her employment with

Defendants as a CSR to take a position in Defendants’ planning department.

VI.   Facts Pertaining to Plaintiff Scott

      89.   In or around August 2014, Plaintiff Scott began her employment with

Defendants as a CSR.

      90.   Throughout the relevant time period, Plaintiff Scott was employed at

Defendants’ customer service facility located in Atlanta, Georgia.

      91.   As a CSR, Plaintiff Scott was paid on an hourly basis.

      92.   As a CSR, Plaintiff Scott was not paid on a salary or fee basis.

      93.   Throughout the relevant time period, Plaintiff Scott worked, on

average, approximately forty-five (45) hours per work week.

      94.   Throughout the relevant time period, Plaintiff Scott entered the hours

she worked per work week in Defendants’ computerized time recording system.

      95.   Throughout the relevant time period, Plaintiff Scott was subjected to

Defendants’ “comp time” policy.

      96.   Accordingly, throughout the relevant time period, Plaintiff Scott was

not compensated with an overtime premium for all hours worked in excess of forty

(40) hours per work week.




                                        15
       Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 16 of 25




      97.   Throughout the relevant time period, Plaintiff Scott was not exempt

from the FLSA.

      98.   In or around November 2016, Plaintiff Scott ended her employment

with Defendants as a CSR.

VII. Facts Pertaining to Plaintiff Smith

      99.   In or around May 2015, Plaintiff Smith began his employment with

Defendants as a CSR.

      100. Throughout the relevant time period, Plaintiff Smith was employed at

Defendants’ customer service facility located in Atlanta, Georgia.

      101. As a CSR, Plaintiff Smith was paid on an hourly basis.

      102. As a CSR, Plaintiff Smith was not paid on a salary or fee basis.

      103. Throughout the relevant time period, Plaintiff Smith worked, on

average, approximately fifty (50) to fifty-five (55) hours per work week.

      104. Throughout the relevant time period, Plaintiff Smith entered the hours

he worked per work week in Defendants’ computerized time recording system.

      105. Throughout the relevant time period, Plaintiff Smith was subjected to

Defendants’ “comp time” policy.




                                        16
          Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 17 of 25




      106. Accordingly, throughout the relevant time period, Plaintiff Smith was

not compensated with an overtime premium for all hours worked in excess of forty

(40) hours per work week.

      107. Throughout the relevant time period, Plaintiff Smith was not exempt

from the FLSA.

      108. Plaintiff Smith is currently employed as a CSR for Defendants.

VIII. Facts Pertaining to Plaintiff Williams

      109. In or around March 2015, Plaintiff Williams began her employment

with Defendants as a CSR.

      110. Throughout the relevant time period, Plaintiff Williams was employed

at Defendants’ customer service facility located in Atlanta, Georgia.

      111. As a CSR, Plaintiff Williams was paid on an hourly basis.

      112. As a CSR, Plaintiff Williams was not paid on a salary or fee basis.

      113. Throughout the relevant time period, Plaintiff Williams worked, on

average, approximately forty-five (45) to fifty (50) hours per work week.

      114. Throughout the relevant time period, Plaintiff Williams entered the

hours she worked per work week in Defendants’ computerized time recording

system.




                                         17
           Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 18 of 25




         115. Throughout the relevant time period, Plaintiff Williams was subjected

to Defendants’ “comp time” policy.

         116. Accordingly, throughout the relevant time period, Plaintiff Williams

was not compensated with an overtime premium for all hours worked in excess of

forty (40) hours per work week.

         117. Throughout the relevant time period, Plaintiff Williams was not exempt

from the FLSA.

         118. In or around November 2016, Plaintiff Williams ended her employment

with Defendants as a CSR.

                  FLSA COLLECTIVE ACTION ALLEGATIONS

         119. Plaintiffs seek to bring this suit as a collective action pursuant to 29

    U.S.C. § 216(b) on their own behalf as well as those in the following collective:

               All persons employed by Defendants as customer service
               representatives during the relevant time period, who have been subject
               to Defendants’ policies of requiring them to work in excess of forty (40)
               hours per work week at their straight hourly rate of pay.

         120. At all relevant times, Plaintiffs were similarly situated to all such

    individuals in the FLSA Collective1 because while employed by Defendants,

    Plaintiffs and all FLSA Plaintiffs performed similar tasks, were subject to the same



1
     Hereinafter referred to as the “FLSA Plaintiffs.”
                                            18
         Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 19 of 25




laws and regulations, were paid in the same or substantially similar manner, were

paid the same or similar rate, were required to work in excess of forty (40) hours

per work week, and were subject to Defendants’ unlawful policies and practices of

willfully failing to pay them at the statutorily required rate of one-and-one-half (1½)

times their hourly rate for all hours worked in excess of forty (40) per work week.

     121. Defendants are and have been aware of the requirement to pay Plaintiffs

and the FLSA Plaintiffs at a rate of one-and-one-half (1½) times their hourly rate

for all hours worked in excess of forty (40) per work week, yet willfully failed to

do so.

     122. The FLSA Plaintiffs, under Plaintiffs’ FLSA claim, are readily

discernable and ascertainable. All FLSA Plaintiffs’ contact information is readily

available in Defendants’ records. Notice of this collective action can be made as

soon as the Court determines.

     123. The numbers of FLSA Plaintiffs in the collective group are too

numerous to join in a single action, necessitating collective recognition.

     124. All questions relating to Defendants’ violation of the FLSA share the

common factual basis with Plaintiffs. No claims under the FLSA relating to the

failure to pay statutorily required overtime premiums are specific to Plaintiffs and

the claims asserted by Plaintiffs are typical of those of members of the collective.

                                         19
       Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 20 of 25




     125.    Plaintiffs will fairly and adequately represent the interests of the

collective and have no interests conflicting with the collective.

     126. A collective action is superior to all other methods and is necessary in

order to fairly and completely litigate violations of the FLSA.

     127. Plaintiffs’ attorneys are familiar and experienced with collective and

class action litigation, as well as employment and labor law litigation.

     128. The public will benefit from the case being brought as a collective

action because doing so will serve the interests of judicial economy by reducing a

multitude of claims to a single litigation. Prosecution of separate actions by

individual FLSA Plaintiffs creates a risk for varying results based on identical fact

patterns as well as disposition of the collective’s interests without their knowledge

or contribution.

     129. The questions of law and fact are nearly identical for all FLSA Plaintiffs

and therefore proceeding as a collective action is ideal. Without judicial resolution

of the claims asserted on behalf of the proposed collective, Defendants’ continued

violations of the FLSA will undoubtedly continue.




                                         20
       Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 21 of 25




                              CAUSE OF ACTION

                                    COUNT 1

Violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq., Made by
                   Plaintiffs on Behalf of All FLSA Plaintiffs

      130. Plaintiffs and the FLSA Plaintiffs re-allege and incorporate by

reference all allegations in all preceding paragraphs.

      131. Throughout the period covered by the applicable statute of limitations,

Plaintiffs and other FLSA Plaintiffs were required to work and did in fact work in

excess of forty (40) hours per work week.

      132. Upon information and belief, Defendants knowingly failed to pay

Plaintiffs and the FLSA Plaintiffs for all hours worked and failed to pay Plaintiffs

and the FLSA Plaintiffs the statutorily required overtime rate for all hours worked

in excess of forty (40) per work week.

      133. Defendants’ conduct was willful and lasted for the duration of the

relevant time periods.

      134. Defendants’ conduct was in violation of the Fair Labor Standards Act.

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, on behalf of themselves and the FLSA Collective

Plaintiffs employed by each Defendant, demand judgment against Defendants as

follows:
                                         21
        Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 22 of 25




      A.     At the earliest possible time, Plaintiffs should be allowed to give notice

of this collective action, or the Court should issue such notice, to all members of the

purported Collective, defined herein. Such notice shall inform them that this civil

action has been filed, of the nature of the action, and of their right to join this lawsuit

if they believe they were denied proper overtime wages;

      B.     Designation of Plaintiffs as representatives of the FLSA Collective and

defined herein, and Plaintiffs’ counsel as Class Counsel;

      C.     Equitable tolling of the FLSA statute of limitations as a result of

Defendants’ failure to post requisite notices under the FLSA;

      E.     Demand a jury trial on these issues to determine liability and damages;

      F.     Preliminary and permanent injunctions against Defendants and their

officers, owners, agents, successors, employees, representatives, and any and all

persons acting in concert with them, from engaging in each of the unlawful practices,

policies, customs, and usages set forth herein;

      G.     A judgment declaring that the practices complained of herein are

unlawful and in violation of the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

      H.     All damages which Plaintiffs and FLSA Plaintiffs have sustained as a

result of Defendants’ conduct, including back pay, liquidated damages, general and




                                            22
             Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 23 of 25




     special damages for lost compensation and job benefits they would have received

     but for Defendants’ improper practices;

           I.     Awarding Plaintiffs and FLSA Plaintiffs of pre-judgment interest at the

     highest level rate, from and after the date of service of the initial complaint in this

     action on all unpaid wages from the date such wages were earned and due;

           J.     Awarding Plaintiffs and FLSA Plaintiffs representing Defendants’

     share of FICA, FUTA, state unemployment insurance and any other required

     employment taxes;

           K.     Awarding Plaintiffs and FLSA Plaintiffs for the amount of unpaid

     wages, including interest thereon, and penalties, including liquidated damages

     subject to proof;

           L.     Awarding Plaintiffs and FLSA Plaintiffs their costs and disbursements

     incurred in connection with this action, including reasonable attorneys’ fees, expert

     witness fees, and other costs;

           M.     Awarding pre-judgment and post-judgment interest, as provided by

law; and

           N.     Granting Plaintiffs and FLSA Plaintiffs other and further relief as this

     Court finds necessary and proper.




                                               23
       Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 24 of 25




                       DEMAND FOR TRIAL BY JURY

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs

demand a trial by jury on all questions of fact raised by this Complaint.

      Dated: February 8, 2018



                                              s/ Beth A. Moeller
                                              Beth A. Moeller
                                              Georgia Bar No. 100158
                                              bmoeller@moellerbarbaree.com
                                              Tracey T. Barbaree
                                              Georgia Bar No. 036792
                                              tbarbaree@moellerbarbaree.com
                                              MOELLER BARBAREE LLP
                                              1100 Peachtree Street, N.E.
                                              Suite 200
                                              Atlanta, Georgia 30309
                                              Telephone: (404) 692-5543

                                              OF COUNSEL:

                                              Robert J. Valli, Jr.
                                              pro hac vice admission pending
                                              rvalli@vkvlawyers.com
                                              Sara Wyn Kane
                                              pro hac vice admission pending
                                              skane@vkvlawyers.com
                                              James A. Vagnini
                                              pro hac vice admission pending
                                              jvagnini@vkvlawyers.com
                                              Valli Kane & Vagnini LLP
                                              600 Old Country Road, Suite 519
                                              Garden City, New York 11530

                                         24
Case 1:18-cv-00596-ELR Document 1 Filed 02/08/18 Page 25 of 25




                                   (516) 203-7180 (phone)
                                   (516) 706-0248 (fax)


                                   Jay D. Ellwanger
                                   pro hac vice admission pending
                                   Texas State Bar No. 24036522
                                   jellwanger@equalrights.law
                                   Ellwanger Law LLLP
                                   8310-1 N. Capital of Texas Hwy
                                   Suite 190
                                   Austin, Texas 78731
                                   Telephone: (737) 808-2262


                                   ATTORNEYS FOR PLAINTIFFS




                              25
